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                        UNITED STATES DISTRICT COURT
                            DISTRICT OF MARYLAND

 UNITED STATES OF AMERICA,

        v.

 AKBAR MASOOD, et al,                                    Criminal Action No. PX-22-0091

        Defendants.

                            PRETRIAL SCHEDULING ORDER

      For the reasons stated during status conference held February 3, 2023, and with
agreement of the parties, the Court issues the following pretrial deadlines:

       November 27, 2023               Defendant to supplement/add motions to suppress
                                       and other pretrial motions

       December 15, 2023               Government’s Omnibus Response

       December 29, 2023               Replies

       January 5, 2024 at 10:00 a.m.   Motions Hearing

       January 9, 2024                 Motions in Limine due

       January 26, 2024                Responses to Motions in Limine; Joint Voir Dire,
                                       Jury Instructions and Verdict sheet to be filed
                                       electronically and submitted via email in
                                       Microsoft Word format to chambers:
                                       Mdd_pxchambers@mdd.uscourts.gov

                                        (Government responsible for filing; Defendants
                                       to indicate proposed changes in redline format.)

                                       Government to provide Jencks and Giglio to
                                       Defendant

       February 2, 2024 (10am – 2pm) Pre-trial Conference/Hearing on Motions in
                                     Limine/voir dire and jury instructions

       February 12, 2024               Trial begins. Expected length: 2 weeks
                                       (Monday – Friday)


       Dated: February 6, 2023                                 /S/
                                                   Paula Xinis
                                                   United States District Judge
